     Case 2:20-cv-07761-DSF-MRW Document 23 Filed 05/04/21 Page 1 of 2 Page ID #:97
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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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      RAMON MCNEAL, an individual,            Case No.: 2:20-cv-07761-DSF-MRW
13
                  Plaintiff,                  Hon. Dale S. Fischer
14
          v.
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                                              ORDER FOR DISMISSAL WITHOUT
      LUZ ARIAS, an individual; ENRIQUE       PREJUDICE
16    D. ARIAS, an individual; and DOES 1-
      10,
17                                            Action Filed: August 26, 2020
                  Defendants.                 Trial Date: Not on Calendar
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                        ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-07761-DSF-MRW Document 23 Filed 05/04/21 Page 2 of 2 Page ID #:98



 1          Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2    it, and being fully advised finds as follows:
 3    IT IS ORDERED THAT:
 4          Plaintiff Ramon McNeal’s action against Defendants Luz Arias and Enrique
 5    Arias is dismissed without prejudice. Each party will be responsible for its own
 6    fees and costs.

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            IT IS SO ORDERED.
       DATED: May 4, 2021
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 9                                            Honorable Dale S. Fischer
                                              UNITED STATES DISTRICT JUDGE
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                        ORDER FOR DISMISSAL WITH PREJUDICE
